UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                              No. 19 Civ 3377(LAP)
-against-
                                                     ORDER
ALAN DERSHOWITZ,

                     Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Before the Court is Ms. Giuffre’s request that the Court

permit her counsel to seek an emergency teleconference during

next week’s deposition of Mr. Dershowitz, should one become

necessary.    (Dkt. no. 502.)     The Court has full confidence that

experienced counsel will conduct themselves with professionalism

and that Mr. Dershowitz will similarly conduct himself with

propriety during the deposition.         If warranted, however, the

parties may attempt to seek relief from the Court, including, if

appropriate, relief under F.R.C.P. 37(a)(3)(B)(i), F.R.C.P.

37(a)(4), and/or F.R.C.P. 30(d)(2).        See, e.g., GMAC Bank v.

HTFC Corp., 248 F.R.D. 182 (E.D. Pa. 2008).

SO ORDERED.

Dated:       September 1, 2022
             New York, New York


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                            LORETTA A. PRESKA
                            Senior United States District Judge


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